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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

VIVIAN YATES, individually and on behalf
of all others similarly situated,

               Plaintiff,

       vs.                                           Case No. 4:20-cv-01605-AGF

CONSUMER ADJUSTMENT COMPANY,
INC.
         Defendant.

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW Plaintiff Vivian Yates and Defendant, Consumer Adjustment Company,

Inc., by and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and

hereby jointly stipulate that this action is dismissed, with prejudice, with the parties to bear their

own attorney's fees, costs and expenses.

       Respectfully submitted September 17, 2021.

/s/ William Peerce Howard                             /s/_Patrick A. Watts __
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                                CERTIFICATE OF SERVICE

      I certify that on September 17, 2021, a copy of the foregoing document was served on all
counsel of record via CM/ECF.


                                          /s/ William Peerce Howard
                                          William Peerce Howard, Esq.
                                          FBN: 0103330 (Admitted PHV)

                                          /s/ D. Todd Mathews_________
                                          D. Todd Mathews, Esq.
                                          MBN: 52502




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